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                                     ORDERED.
  Dated: February 13, 2024




                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION
                                  www.flmb.uscourts.gov

In re:                                                     Case No. 2:23-bk-00933-FMD
                                                           Chapter 11
Lemonkind LLC,

             Debtor.
_________________________________/

                           ORDER (I) CONFIRMING
                   DEBTOR LEMONKIND LLC’S AMENDED
              PLAN OF REORGANIZATION UNDER CHAPTER 11,
          SUBCHAPTER V, AS FURTHER AMENDED AND MODIFIED
    HEREIN; AND (II) SETTING POST-CONFIRMATION STATUS CONFERENCE
                         (Related Doc. Nos. 106 and 135)

         THIS CASE came on for continued hearing January 24, 2024, at 10:30 a.m. EST (the

“Hearing”) upon the Plan of Reorganization Under Chapter 11, Subchapter V (Doc. No. 106)

(“Plan”) filed on November 13, 2023 by Lemonkind LLC, the above-captioned debtor and

debtor in possession (“Debtor”), as amended by the First Amendment to Plan of Reorganization

(Doc. No. 135) (“Plan Amendment”) filed on December 12, 2023 by the Debtor. The Court has

reviewed the evidence presented and the record of this case, including the Plan, Plan

Amendment, and Confirmation Affirmation and Memorandum in Support of Confirmation of

Amended Plan of Reorganization for Small Businesses under Chapter 11 (Doc. No. 136)

(“Confirmation Affirmation”). Having considered the evidence presented, the arguments of
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counsel, and being otherwise fully advised in the premises, after notice and a hearing, the Court

finds and concludes as follows:

                    FINDINGS OF FACTS & CONCLUSIONS OF LAW

       A.      Jurisdiction. The Court has jurisdiction over this matter under 28 U.S.C. §§ 157

and 1334, the United States District Court’s general order of reference, and other various

applicable provisions of Title 11 of the United States Code (the “Bankruptcy Code”) and the

Federal Rules of Bankruptcy Procedure (each a “Bankruptcy Rule” and, jointly and collectively,

“Bankruptcy Rules”).

       B.      Venue. Venue is proper before this Court under 28 U.S.C. §§ 1408 and 1409.

       C.      Notice. Due, adequate, and sufficient notice of the Plan and the order setting a

hearing on confirmation (Doc. No. 111) were served upon all creditors, interest holders, and

parties requesting notice. Accordingly, the method of service and solicitation of acceptance of

the Plan, notice of the hearing to consider confirmation of the Plan, and notices of all other

deadlines or requirements relating thereto (collectively, the “Confirmation Deadlines”) were in

compliance with the Bankruptcy Rules, were adequate and reasonable under the circumstances

of this case, and no further or additional notice of the confirmation hearing or the confirmation

deadlines was necessary or required.

       D.      Objections to Confirmation. Present at the Hearing were Michael R. Dal Lago,

Esq. for the Debtor, Kelly Roberts, Esq., on behalf of Bank of Southern California, N.A, ,

Buffey Klein, Esq. on behalf of Select Brands, LLC, Mr. John Weidner as a representative of

Select Brands, the Subchapter V Trustee Ruediger Mueller, and Benjamin Lambers on behalf of

the United States Trustee (“UST”). The Bank of Southern California, N.A. (the “Bank SoCal”)

filed a Limited Objection to Confirmation of the Debtor’s Chapter 11 Plan (Doc. No. 133)




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(“SoCal Objection”). The Debtor and Bank SoCal agreed to the Plan modifications provided in

this Order in exchange for the withdrawal of the SoCal Objection. In the event the record at the

Hearing was not clear, the SoCal Objection shall be deemed withdrawn. The UST filed its

Objection to Confirmation of Plan [Doc. No. 138] which shall also be deemed withdrawn subject

to the modifications provided in this Order.

        E.      Ballots. The Plan (subject to the Plan Amendment) and Confirmation Affirmation

reflect that Classes 2, 3, 6, and 7 are impaired. Classes 6 and 7 voted to accept the Plan, whereas

Classes 2 and 3 agreed to accept the Plan, subject to the amendments reflected in the Plan

Amendment and the corresponding modifications set forth herein. No Classes voted to reject the

Plan.

        F.      Proper Classification of Claims. The Plan adequately and properly identifies

and classifies all claims. Pursuant to Bankruptcy Code section 1122(a), the claims placed in each

class are substantially similar to other claims in each such class. Pursuant to Bankruptcy Code

section 1123(a)(1), valid legal and business reasons exist for the various classes of claims created

under the Plan and such classification does not unfairly discriminate among holders of claims.

The classification of claims in the Plan is reasonable.

        G.      Specified Unimpaired Classes. The Plan specifies all classes or claims or

interests that are not impaired under the plan.

        H.      Specified Treatment of Impaired Classes. The Plan specifies the treatment of

all classes of claims or interests that are impaired under the Plan.

        I.      No Discrimination. The Plan provides for the same treatment of claims or

interests in each respective class unless the holder of a particular claim or interest has agreed to a

less favorable treatment of such claim or interest.




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       J.      Implementation of the Plan. Pages 3 and 4 of the Plan provide adequate means

for the Plan’s implementation.

       K.      Interests of the Creditors, Equity Security Holders, & Public Policy. The Plan

contains only provisions that are consistent with the interests of creditors and equity security

holders and with public policy with respect to the manner of selection of any officer, director, or

trustee under the Plan and any successor to such officer, director, or trustee.

       L.      Assumption & Rejection. Article 6 of the Plan, pursuant to Bankruptcy Code

section 365, provides for the assumption, rejection, or assignment of any executory contract or

unexpired lease of the Debtor not previously rejected under such section.

       M.      Additional Plan Provisions. Each of the provisions of the Plan is appropriate and

not inconsistent with the applicable provisions of the Bankruptcy Code.

       N.      Principal Purpose of the Plan. The principal purpose of the plan is not the

avoidance of taxes or the avoidance of the application of section 5 of the Securities Act of 1933.

       O.      Subchapter V Plan Requirements. The Plan complies with Bankruptcy Code

section 1189 because it was filed by the Debtor not later than 90 days after the order for relief

under Chapter 11, or the Court extended the period because the need for the extension was

attributable to circumstances for which the Debtor should not justly be held accountable.

       P.      Contents of a Subchapter V Plan. In compliance with Bankruptcy Code section

1190, the Plan includes: (1) a brief history of the business operations of the debtor, (2) a

liquidation analysis, and (3) projections with respect to the ability of the Debtor to make

payments under the proposed plan for reorganization. The Plan provides for the submission of all

or such portions of the future earnings or other future income of the Debtor as is necessary for

the execution of the Plan.




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       Q.          Satisfaction of Conditions. The Court finds that the Plan satisfies the applicable

requirements of Bankruptcy Code section 1129(a) and, as a result, is a consensual Subchapter V

plan under Bankruptcy Code section 1191(a). With respect to the relevant provisions of

Bankruptcy Code section 1129(a), the Court finds and concludes as follows:

              i.      The Plan and the Plan proponent comply with the applicable provisions of the

                      Bankruptcy Code.

             ii.      The Plan was proposed in good faith and not by any means forbidden by law.

            iii.      Any payment made or to be made by the Debtor, for services or for costs and

                      expenses in or in connection with the case, or in connection with the Plan and

                      incident to the case, has been approved by, or is subject to the approval of, the

                      Court as reasonable.

            iv.       The Plan has disclosed the identity and affiliations of any individual proposed

                      to serve, after confirmation of the plan, as a director, officer, or voting trustee

                      of the Debtor; and the appointment to, or continuance in, such office of such

                      individual, is consistent with the interests of creditors and equity security

                      holders, and with public policy; and the Plan proponent has disclosed the

                      identity of any insider that will be employed or retained by the reorganized

                      debtor, and the nature of any compensation for such insider.

             v.       The Plan provides that, with respect to each impaired class of claims or

                      interests, each holder of a claim or interest of such class has accepted the plan,

                      or will receive or retain under the plan on account of such claim or interest

                      property of a value, as of the effective date of the plan, that is not less than the

                      amount that such holder would so receive or retain if the debtor were




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        liquidated under chapter 7 of this title on such date, or each holder of a claim

        of such class will receive or retain under the plan on account of such claim

        property of a value, as of the effective date of the plan, that is not less than the

        value of such holder’s interest in the estate’s interest in the property that

        secures such claims in compliance with Bankruptcy Code section 1111(b)(2).

 vi.    With respect to each class of claims or interests, such class has accepted the

        Plan, or such class is not impaired under the Plan.

vii.    The Debtor knows of no tax claims entitled to priority under Bankruptcy code

        section 507(a)(8).

viii.   If a class of claims is impaired under the Plan, at least one class of claims that

        is impaired under the Plan has accepted the Plan, determined without

        including any acceptance of the plan by any insider.

 ix.    Confirmation of the Plan is not likely to be followed by the liquidation, or the

        need for further financial reorganization, of the debtor or any successor to the

        debtor under the Plan, unless such liquidation or reorganization is proposed in

        the Plan.

  x.    All fees payable under 28 U.S.C. § 1930, as determined by the Court at the

        hearing on confirmation of the plan, have been paid or the plan provides for

        the payment of all such fees on the effective date of the Plan.

 xi.    All transfers of property under the Plan shall be made in accordance with any

        applicable provisions of nonbankruptcy law that govern the transfer of

        property by a corporation or trust that is not a moneyed, business, or

        commercial corporation or trust.




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       Accordingly, it is

       ORDERED:

       1.        Confirmation. The plan is confirmed under Bankruptcy Code section 1191(a).

       2.        Effective Date. The effective date of the Plan (“Effective Date”) shall be on or

before the 30th day following the date on which this Order becomes final and non-appealable.

The Debtor shall file a Notice of Effective Date with the Court on the Effective Date.

       3.        Binding Effect of Plan. Pursuant to Bankruptcy Code section 1141(a), except as

provided in Bankruptcy Code sections 1141(d)(2) and (3), the provisions of the Plan as of the

Effective Date bind the Debtor, any entity issuing securities under the Plan, any entity acquiring

property under the Plan, and any creditor, whether or not the claim or interest of such creditor is

impaired under the plan, and whether or not such creditor or equity security holder has accepted

the Plan.

       4.        Post-Confirmation Operation of Business. Except as otherwise provided in the

Plan or in this Confirmation Order, on and after the Effective Date, the Debtor may operate its

business and may use, acquire, and dispose of property free of any restrictions of the Bankruptcy

Code and Bankruptcy Rules and in all respects as if there were no pending case under any

chapter or provisions of the Bankruptcy Code. The Debtor is entitled to retain and compensate

professionals without the necessity of further approval of this Court. Except as set forth in the

Plan concerning objections to claims, the Debtor may also settle or compromise any claims

without Court approval.

       5.        Modifications to the Plan. The Debtor has agreed to the following Plan

modifications:

            a. Amendment to Article 2.02 (“Class 2”)




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Article 2.02 of the Plan is STRICKEN and REPLACED in its entirety with the

following:


             The allowed claim of Amazon Capital Services, Inc.
             (“Amazon Capital”) against the Debtor, pertaining to the
             Loan Agreement between the parties and the collateral
             securing the Debtor’s obligations under the agreement
             (“Amazon Capital Collateral”).

b. Amendment to Article 4.01, Class 2 (“Amazon Capital”)

Article 4.01, Class 2 of the Plan is amended to INSERT the following:

             Amazon Capital is permitted to deduct its Plan payments
             directly from the Debtor’s Amazon Seller Account, in
             accordance with the terms of the Parties’ Loan Agreement.

c. Amendment to Article 4.01, Class 5 (“SBA”)

Article 4.01, Class 5 of the Plan is amended as follows:

        i. REPLACE the following:

             [ X ] Impaired

             [   ] Unimpaired

             WITH

             [   ] Impaired

             [ X ] Unimpaired

       ii. REPLACE the following:

             This Class is impaired by this Plan and is entitled to vote on
             this Plan.

             WITH

             This Class is unimpaired by this Plan and is not entitled to
             vote on this Plan.

d. Amendment to Article 6.01 (“Assumed Contracts & Leases”)




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            Article 6.01 of the Plan is amended to REPLACE “Amazon Servicing Contract”

            WITH “Business Solutions Agreement with Amazon.com Services, LLC.”

            e. Amendment to Article 6.02 (“Rejected Contracts and Rejection Damage Claims”)

            Article 6.02 shall be struck in its entirety.

            f. Amendment to Article 7.03 (“Vesting of Assets”)

            Article 7.03 shall be struck in its entirety.

            g. Amendment to Article 8.10 (“Injunction”)

            Article 8.10 shall be struck in its entirety.

       6.       Injunction and Discharge. Except as otherwise expressly provided in the Plan or

in this Confirmation Order, as of the Effective Date: (i) the Debtor shall be discharged from any

debt to the fullest extent provided by Bankruptcy Code section 1141(d); and (ii) all holders of

any discharged claims against the Debtor are enjoined from enforcing any such claim to the

fullest extent provided by Bankruptcy Code section 524(a). To the extent the Plan discharge

provisions set forth in section 9.01 of the Plan are inconsistent with this Confirmation Order,

Bankruptcy Code section 1141(d), or any other provision of the Bankruptcy Code, this Order,

Bankruptcy Code section, and the Bankruptcy Code shall control.

       7.       Disbursing Agent. The Debtor shall make payments under the Plan.

       8.       United States Trustee Guidelines. The Debtor must comply with the guidelines

set forth by the Office of the United States Trustee until the closing of this case by the issuance

of a Final Decree by the Bankruptcy Court.

       9.       Effect of Confirmation Order on Plan. The failure to reference or address all or

part of any particular provision of the Plan herein has no effect on the validity, binding effect, or

enforceability of such provision and such provision has the same validity, binding effect, and




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enforceability as every other provision of the Plan. To the extent that any inconsistencies exist

between the terms of the Plan and this Confirmation Order, the terms of this Confirmation Order

shall control.

        10.      Executory Contracts and Leases. Except as otherwise provided in a separate

order of the Court, all executory contracts and unexpired leases not otherwise assumed are

deemed rejected as of the Effective Date.

        11.      Final Fee Applications. To the extent any professional, including but not limited

to Dal Lago Law and the Subchapter V Trustee, seeks an award of compensation for services

rendered or reimbursement of expenses incurred through and including the date of the

Confirmation Hearing, such professional shall file its respective application for allowance of

compensation for services rendered and reimbursement of expenses incurred by the date that is

twenty-one (21) days from the date of entry of this Order.

        12.      Service of Confirmation Order. Michael R. Dal Lago, Esq. is directed to serve a

copy of this Order on all parties and file a certificate of service within five (5) days of the entry

of this Order.

        13.      Documents Required to Effectuate Plan. The Debtor is authorized to execute

any and all documents reasonably required to effectuate the provisions of the Plan or prior

Orders of this Court.

        14.      Modification After Confirmation. Under Bankruptcy Code section 1193(b), the

Debtor may modify the Plan at any time after confirmation and before substantial consummation

of the Plan but may not modify the Plan so that the Plan as modified fails to meet the

requirements of Bankruptcy Code sections 1122 and 1123, with the exception of Bankruptcy

Code section 1123(a)(8). The Plan, as modified under this subsection, becomes the Plan only if




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circumstances warrant the modification and the court, after notice and a hearing, confirms this

Plan as modified under Bankruptcy Code section 1191(a).

       15.     Discharge of the Subchapter V Trustee. Pursuant to Bankruptcy Code section

1183, the service of the Subchapter V Trustee in the case shall terminate when the Plan has been

substantially consummated, except that the United States trustee may reappoint a trustee as

needed for performance of duties under Bankruptcy Code sections 1183(b)(3)(C) and 1185(a).

On or before the later of thirty (30) days after the granting of a discharge in this Case, or thirty

(30) days after the disposition of all adversary proceedings or contested matters, whichever is

later, the Debtor’s attorney shall file a Motion for Final Decree and Certificate of Substantial

Consummation. Prior to the discharge of the Subchapter V Trustee, the Subchapter V Trustee

shall comply with Bankruptcy Code section 1194 and distribute any applicable payments in

accordance with the Plan.

       16.     Jurisdiction. The Court reserves jurisdiction to determine whether injunctive

relief should be granted if any creditor in this case pursues any available rights and remedies

under non-bankruptcy law, or any applicable agreements, against Ms. Stanbury. The Bankruptcy

Court also retains jurisdiction to:

               a.      Resolve issues with respect to the Debtor’s substantial consummation of
                       the Plan and to the extent the Debtor seeks to amend or modify the Plan;

               b.      Resolve any motions, adversary proceedings, or contested matters, that are
                       pending as of the date of substantial consummation;

               c.      Adjudicate objections to claims;

               d.      Resolve disputes with respect to any and all injunctions created as a result
                       of confirmation of the Plan;

               e.      Adjudicate modifications of the plan under Bankruptcy Code section
                       1193;




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               f.     Review and consider issues associated with the Debtor’s final report and
                      entry of final decree, and to enter a final decree; and

               g.     Enter such orders as the Court deems necessary or appropriate with
                      respect to enforcement of the Plan.

       17.     Post-Confirmation Status Conference. A post-confirmation status conference

should be set for March 27, 2024 at 10:00 a.m. EST.

       18.     Claims Listing and Distribution Schedule. A summary of claims asserted in the

case, along with a distribution schedule for such claims, are attached hereto as Exhibit A and

Exhibit B, respectively.

Attorney Michael R. Dal Lago is directed to serve a copy of this order on interested parties who
do not receive service by CM/ECF and file a proof of service within three days of entry of the
order.




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                         EXHIBIT A
LemonKind LLC                                                   EXHIBIT "A"                  Case 2:23-bk-00933-FMD                                                          Doc 168                       Filed 02/14/24                                  Page 14 of 16
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Claims List


                                                                                                             Secured            Priority
                                                     Schedule or Name/Address                                Amount,            Amount,             General Unsecured                                                                                                                                                                 % of
Class     Name of Creditor                            Claim No. where Notices should be sent                 if any             if any              Amount, if any        Total Amount           Claim Secured By   Notes                                   Repayment Terms      Int Rate    Int $              Total Repayment       Total      Payment Amt     Payment Dates
Secured
                                                                Amazon Capital Services, Inc. c/o K&L                                                                                         All Amazon
                                                                Gates LLP Attn: Brian Peterson 925 4th                                                                                        accounts and
    2     Amazon Capital Services                        9      Avenue Suite 2900 Seattle, WA 98104              $34,542.43                                                        $34,542.43 property                                                      6%, 5 years                 6%           5,525.69           40,068.12 N/A                    667.80 1/1/24-12/31/26

                                                                Bank of Southern California, N.A. 400                                                                                                               Creditor letttingus keep the loan
                                                                Spectrum Center Drive Suite 500 Irvine, CA                                                                                                          under the original payment terms
    3     Bank of Southern CA (SBA ONE 7a loan)          10     92618                                           $338,562.80                                                       $338,562.80 All assets UCC-1      with prime plus 3%,                     12% 10 years               12%      242,342.80             578,159.80 N/A                  4,818.00 11/8/23-10/8/33

                                                                Sebaly Shillito + Dyer LPA c/o Robert                                                                                          Leased Equipment; Debtor surrendered the equipment
          Crown Equipment Corportation dba Credit               Hanseman 40 N. Main St., Ste. 1900                                                                                             1-walkie Stacker  totaling 15,181 for the secured            NA (Equipment
    4     Company                                        7      Dayton, OH 45423                                       $0.00                                                             $0.00 Lift Truck        portion of the claim                       returned)                                                                 N/A


   5      SBA EIDL                                       15                                                      $66,907.63                                                        $66,907.63                       Keeping at original loan terms          3.75% and 30 years       3.75%                              $66,907.63 N/A                   731.00 Original Loan terms
General Unsecured
                                                                12200 MONTAGUE ST , PACOIMA, CA,                                                                                                                    POC 1 replaces schedule 3.1 (same
    6     ABF Freight Systems                            3.1    91331-2235                                             $0.00               $0.00                  $0.00                  $0.00                      vendor)                                 N/A                                                                   -                        $0.00 N/A
                                                                15806 Brookway Dr, Ste 200, Huntersville,                                                                                                                                                   Quarterly over                                                                                       Quarterly over 1/1/24-
    6     AddShoppers, Inc.                              3.2    NC, 28078                                              $0.00               $0.00               2,221.34             $2,221.34                                                               1/1/24-12/31/2028                                            2,221.34        0.37%          $444.27 12/31/2028
                                                                                                                                                                                                                                                            Quarterly over                                                                                       Quarterly over 1/1/24-
    6     All Star Delivery Systems, Inc.                3.3    6 Commerce Drive, Cranford, NJ, 07016                  $0.00               $0.00             22,925.00             $22,925.00                                                               1/1/24-12/31/2028                                           22,925.00        3.85%         $4,585.00 12/31/2028
                                                                American Express National Bank c/o
                                                                Zwicker & Associates P.C. PO Box 9043                                                                                                                                                       Quarterly over                                                                                       Quarterly over 1/1/24-
    6     American Express National Bank                 11     Andover, MA 01810-1041                                 $0.00               $0.00             $12,781.00            $12,781.00                                                               1/1/24-12/31/2028                                           12,781.00        2.14%         $2,556.20 12/31/2028
                                                                American Express National Bank c/o
                                                                Zwicker & Associates P.C. PO Box 9043                                                                                                                                                       Quarterly over                                                                                      Quarterly over 1/1/24-
    6     American Express National Bank                 12     Andover, MA 01810-1041                                 $0.00               $0.00              $2,918.30             $2,918.30                                                               1/1/24-12/31/2028                                            2,918.30        0.49%          $583.66 12/31/2028

          American Express National Bank (Amex                  Becket and Lee LLP PO Box 3001 Malvern,                                                                                                                                                     Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Business Gold Rewards)                         5      PA 19355-0701                                          $0.00               $0.00             $16,103.80            $16,103.80                                                               1/1/24-12/31/2028                                           16,103.80        2.70%         $3,220.76 12/31/2028

          American Express National Bank (Amex                  Becket and Lee LLP PO Box 3001 Malvern,                                                                                                                                                     Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Platinum)                                      6      PA 19355-0701                                          $0.00               $0.00            $177,479.52           $177,479.52                                                               1/1/24-12/31/2028                                          177,479.52       29.77%        $35,495.90 12/31/2028

                                                                ArcBest, Inc. 3801 Old Greenwood Road                                                                                                                                                       Quarterly over                                                                                       Quarterly over 1/1/24-
    6     ArcBest, Inc.                                  1      Fort Smith, AR 72901                                   $0.00               $0.00             $16,988.17            $16,988.17                       Same vendor as Schedule 3.1             1/1/24-12/31/2028                                           16,988.17        2.85%         $3,397.63 12/31/2028
                                                                111 Progress Ave, Scarborough, CA, M1 P                                                                                                                                                     Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Atlantic Packaging Products Ltd (CANADA)       3.7    2Y9                                                                                          22,064.62             $22,064.62                                                               1/1/24-12/31/2028                                           22,064.62        3.70%         $4,412.92 12/31/2028
                                                                1 United Drive, West Bridgewater, MA,                                                                                                                                                       Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Cheer Pack North America LLC                   3.8    02379                                                                                          1,892.82             $1,892.82                                                               1/1/24-12/31/2028                                            1,892.82        0.32%          $378.56 12/31/2028
                                                                Sebaly Shillito + Dyer LPA c/o Robert
          Crown Equipment Corporation dba Credit                Hanseman 40 N. Main St., Ste. 1900
    6     Company                                        7      Dayton, OH 45423                                       $0.00               $0.00                  $0.00                  $0.00                      Claim 16 Replaces claim 7               N/A                                                                   -      0.00%             $0.00 N/A
                                                                Sebaly Shillito + Dyer LPA c/o Robert
          Crown Equipment Corporation dba Credit                Hanseman 40 N. Main St., Ste. 1900                                                                                                                  Objection To Be Filed;                  Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Company                                        16     Dayton, OH 45423                                       $0.00               $0.00             $10,013.52            $10,013.52                       Distribution held in reserve account    1/1/24-12/31/2028                                           10,013.52        1.68%         $2,002.70 12/31/2028
                                                                Sebaly Shillito + Dyer LPA c/o Robert
          Crown Equipment Corporation dba Crown                 Hanseman 40 N. Main St., Ste. 1900                                                                                                                                                          Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Lift Trucks                                    8      Dayton, OH 45424                                       $0.00               $0.00                $499.84               $499.84                                                               1/1/24-12/31/2028                                              499.84        0.08%            $99.97 12/31/2028
                                                                Corporate Office, 506 6th Street, Prosser,                                                                                                                                                  Quarterly over                                                                                       Quarterly over 1/1/24-
    6     FruitSmart, Inc                               3.10    WA, 99350                                              $0.00               $0.00             18,680.52             $18,680.52                                                               1/1/24-12/31/2028                                           18,680.52        3.13%         $3,736.10 12/31/2028
                                                                11850 South Election Road, Draper, UT                                                                                                                                                       Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Goldman Sachs LOC                             3.11    84020                                                  $0.00               $0.00             $13,723.20            $13,723.20                                                               1/1/24-12/31/2028                                           13,723.20        2.30%         $2,744.64 12/31/2028
          NSF International (Non-GMO Project                    World Headquarters, 789 N. Dixboro Road,                                                                                                                                                    Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Verification)                                 3.12    Ann Arbor, Ml, 48105                                   $0.00               $0.00               2,725.00             $2,725.00                                                               1/1/24-12/31/2028                                            2,725.00        0.46%          $545.00 12/31/2028
                                                                People Ready Inc 1015 'A' St Tacoma, Wa                                                                                                                                                     Quarterly over                                                                                       Quarterly over 1/1/24-
    6     People Ready Inc                               13     98402                                                  $0.00               $0.00              $8,538.06             $8,538.06                                                               1/1/24-12/31/2028                                            8,538.06        1.43%         $1,707.61 12/31/2028
          Rakuten Marketing LLC dba Rakuten                     6985 S Union Park Center #300, Midvale,                                                                                                                                                     Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Advertising                                   3.14    UT, 84047                                              $0.00               $0.00               9,346.06             $9,346.06                                                               1/1/24-12/31/2028                                            9,346.06        1.57%         $1,869.21 12/31/2028
                                                                Select Brands, LLC c/o Kayla Schmidt, Esq.
                                                                120 South Riverside Plaza #2200 Chicago,                                                                                                            Objection Pending;                      Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Select Brands, LLC                             14     IL 60606-3912                                          $0.00               $0.00             $59,818.72            $59,818.72                       Distribution held in reserve account    1/1/24-12/31/2028                                           59,818.72       10.03%        $11,963.74 12/31/2028

                                                                Skjodt-Barrett Foods, Inc. 5 Precidio Cort                                                                                                                                                  Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Skjodt-Barrett Foods, Inc.                     4      Brampton, Ontario L6S 6B7 Canada                       $0.00               $0.00             $91,428.62            $91,428.62                                                               1/1/24-12/31/2028                                           91,428.62       15.34%        $18,285.72 12/31/2028
                                                                Uline 12575 Uline Drive Pleasant Prairie,                                                                                                                                                   Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Uline                                          2      WI 53158                                               $0.00               $0.00              $5,881.88             $5,881.88                                                               1/1/24-12/31/2028                                            5,881.88        0.99%         $1,176.38 12/31/2028
                                                                Wells Fargo Bank Small Business Lending
                                                                Division PO Box 29482 MAC S4101-08C                                                                                                                                                         Quarterly over                                                                                       Quarterly over 1/1/24-
    6     Wells Fargo Bank, N.A. (Business LOC)          3      Phoenix, AZ 85038                                      $0.00               $0.00             $82,500.00            $82,500.00                                                               1/1/24-12/31/2028                                           82,500.00       13.84%        $16,500.00 12/31/2028
                                                                10 Auction Lane, Brampton, Ontario,                                                                                                                                                         Quarterly over                                                                                       Quarterly over 1/1/24-
    6     WG Pro-Manufacturing Inc. (CANADA)            3.22    Canada, L6T 5V8                                         $0.00               $0.00            17,634.61             $17,634.61                                                               1/1/24-12/31/2028                                           17,634.61        2.96%         $3,526.92 12/31/2028
          Total Unsecured                                                                                              $0.00               $0.00           $596,164.60           $596,164.60                                                                                                                          $596,164.60      100.00%      $119,232.92
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                         EXHIBIT B
LemonKind LLC
                            Case 2:23-bk-00933-FMD        Doc 168     FiledExhibit
                                                                            02/14/24
                                                                                   B
                                                                                         Page 16 of 16
Plan Projections
Case 2:23-BK-00933


                                      Year 1        Year 2          Year 3        Year 4         Year 5
                                       2024          2025            2026          2027           2028           Plan Totals
Beginning Cash                            199,834       235,735         109,458        64,143         65,221           674,391

Gross Revenue                          2,429,075     2,453,366       2,526,967     2,615,410       2,666,180       12,690,998

Operating Expenses
Cost of Sales                            897,556     1,090,207       1,047,163     1,065,736       1,076,398         5,177,060
Personnel, including payroll taxes
and benefits                             386,756       398,190         409,624       402,956         403,043        2,000,568
Operational Costs                         80,618        81,424          82,606        83,906          84,930          413,485
Occupancy Costs                           85,018        85,868          88,444        91,539          94,286          445,154
General & Administrative                  42,750        43,178          43,609        44,045          44,486          218,068
Advertising                              680,141       686,942         707,001       732,315         746,530        3,552,929
Total Operating Expenses               2,172,839     2,385,808       2,378,447     2,420,498       2,449,672       11,807,265

Plan Payments
Administrative Expense Claims             26,500                                                                       26,500

Secured Claims
Amazon Capital Services                    8,014         8,014           8,014           8,014           8,014         40,068
Bank of Southern CA (SBA ONE
7a loan)                                  57,816        57,816          57,816          57,816       57,816           289,080
SBA EIDL                                   8,772         8,772           8,772           8,772        8,772            43,860
Total Secured Claims                      74,602        74,602          74,602          74,602       74,602           373,008

Total Administrative, Priority Tax,
Priority, and Secured Claims
                                         101,102        74,602          74,602          74,602       74,602           399,508

Funds Available                          354,968       228,691         183,376         184,454      207,127

Unsecured Creditors                      119,233       119,233         119,233         119,233      119,233           596,165

Ending Cash                              235,735       109,458          64,143          65,221       87,894
